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 8                               U NITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10 U NITED STATES OF AMERICA,                       Case No.: CR-21-00211-MWF
11                       Plaintiff,                 ORDER OF DETENTION
12                                                                  3143(a)]~a~~6~'
   v.                                               X18 U.S.0 ~ §
13 ARTHUR GONZALEZ, JR.,
14                       Defendant.
15
16         The defendant having been arrested in this District pursuant to a warrant issued by
17 the United States District Court for the C~-1~1'~'Q.~ ~15sN~~C~ of tA~,~oY'u~a.. for alleged
18 violations) of the terms and conditions of his/her [probation](supervised release]; and
19         The Court having conducted a detention hearing pursuant to Federal Rule of
20 Criminal Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a);
21         The Court finds that:
22 A.     (~he defendant has not met his/her burden of established by clear and
23         convincing evidence that he/she is not likely to flee if released under 18 U.S.C. §
24         3142(b) or (c). This finding is based on I~D~r~- of fie, o~f2in~e5 '►
25           ~.i~rc~ ~ ~I,~u~'es -Erg n ~~ ~.~ ; u..~~-b ~- re~,~d~c~. ;
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27
28         and/or
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 1 1 B.   ( The defendant has not met his/her burden of establishing by clear and
 2        convincing evidence that he/she is not likely to pose a danger to the safety of any
 3        other person or the community if released under 18 U.S.C. § 3142(b) or (c). This
 4        finding is based on: Y1Gt~-t,U^e t7~ ~ p~h~s; ~-~s,L-~ Vio~'~-vas
 5         ~. ~ ro ~-ec.-h'~~ o rd~ c~,c~:~5t ~x- c~~~ -Fr ►' end ~ ,o r ~'e-~
 6          ~~~D C.GI,'~11 Q•~l~

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 9        IT IS THEREFORE ORDERED that the defendant be detained pending the further
10 ~ revocation proceedings.
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12 Dated: November 12, 2021
13                                                         United States Magist to Judge
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